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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                 4:04CR3086
          v.                        )
                                    )
CLIFTON L. PETERSON,                )
                                    )                    ORDER
                  Defendant.        )
                                    )




     Upon consideration of the defendant's motion for a change in
residence, and upon being advised that there is no objection,

     IT IS ORDERED,

     The motion, filing 80, is granted, and paragraph 1(d) of the
order setting defendant's conditions of release, as amended, is
further amended to read:

          1(d).     Defendant shall reside at the home of his
                  daughter, Terri Peterson.

     DATED this 9th day of June, 2005.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
